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                                      #:5510

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10
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11
12                         CENTRAL DISTRICT OF CALIFORNIA
13                                SOUTHERN DIVISION
14      JOHN C. EASTMAN                       Case No. 8:22-cv-00099-DOC-DFM
15
                    Plaintiff,
16
        vs.
17
18      BENNIE G. THOMPSON, et al.,

19                  Defendants.
20
21

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23
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25
                                      Exhibit
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27

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Case 8:22-cv-00099-DOC-DFM Document 350-20 Filed 05/26/22 Page 2 of 2 Page ID
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